          Case 2:07-cr-00432-WBS Document 218 Filed 04/12/12 Page 1 of 2


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7                    IN THE UNITED STATES DISTRICT COURT
8                  FOR THE EASTERN DISTRICT OF CALIFORNIA
9

10   UNITED STATES OF AMERICA,     )          CASE NO. 2:07-cr-432 EJG
                                   )
11                  Plaintiff,     )
                                   )
12        v.                       )          STIPULATION AND
                                   )          ORDER TO EXCLUDE TIME
13   GABRIEL VIRAMONTES,           )
                                   )
14                                 )
                    Defendant.     )
15   ______________________________)
16

17        The parties request that the Restitution Hearing in the
18   above captioned case be continued to June 15, 2012, at 10:00 a.m.
19   for good cause showing.    They stipulate that the time between
20   April 9, 2012 and June 15, 2012 should be excluded from the
21   calculation of time under 18 U.S.C. §3664(d)(5).        This additional
22   time is necessary for the parties to prepare for the restitution
23   hearing, obtain trial transcripts of relevant testimony, and
24   receive a more detailed accounting from the victims in light of
25   United States v. Yeung, ___ F.3d ___, 2012 WL 432289 (9th Cir.
26   2012).   The parties believe that because of the nature of the
27   entities involved it may be necessary to continue the case beyond
28   the requested June date; however, a further stipulation or motion

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          Case 2:07-cr-00432-WBS Document 218 Filed 04/12/12 Page 2 of 2


1    will be submitted if that becomes necessary.
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3                                           Respectfully Submitted,
4                                           BENJAMIN B. WAGNER
                                            United States Attorney
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6
     DATE: April 11, 2012                   By: /s/ Michael D. Anderson
7                                           MICHAEL D. ANDERSON
                                            Assistant U.S. Attorney
8

9
     DATE: April 11, 2012                   /s/ Michael D. Anderson for
10                                          MICHAEL BIGELOW
                                            Attorney for Defendant
11

12                                          SO ORDERED.
13
     DATE: April 10, 2012                   /s/ Edward J. Garcia
14                                          ______________________________
                                            HON. EDWARD J. GARCIA
15                                          U.S. District Judge
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